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 6                       IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
 8
 9   United States of America,                        No. CR-17-08226-001-PCT-DJH
10                 Plaintiff,                         ORDER REVOKING SUPERVISED
                                                      RELEASE
11   v.
12   Marcos Ochoa,
13                 Defendant.
14
15           A Petition to Revoke Supervised Release has been filed and Defendant has
16   admitted to Allegation C, that he violated his conditions of supervised release.

17           The Court finds the Defendant has violated the terms and conditions of supervised
18   release and has considered the factors set forth in 18 U.S.C. § 3583(e), the U.S.

19   Sentencing Commission Chapter 7 policy statements, the original guideline range,

20   statements of the parties, and all documentation submitted, including the disposition
21   report. The Court finds Defendant's supervised release should be revoked.
22           Accordingly,

23           IT IS THE JUDGMENT OF THIS COURT that Defendant's supervised release

24   is REVOKED.

25           IT IS ORDERED committing Defendant to the custody of the Bureau of Prisons

26   for a term of SIX (6) MONTHS, followed by Supervised Release for a term of THIRTY
27   (30) MONTHS.
28           IT IS FURTHER ORDERED dismissing the remaining allegation(s) of the
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 1   petition on motion of the United States.
 2                                   SUPERVISED RELEASE
 3           IT IS ORDERED that while on supervised release, the Defendant must comply
 4   with the mandatory and standard conditions of supervision as adopted by this court, in
 5   General Order 17-18, which incorporates the requirements of USSG §§ 5B1.3 and 5D1.2.
 6   Of particular importance, the Defendant must not commit another federal, state, or local
 7   crime during the term of supervision and the Defendant shall abstain from the use of
 8   illicit substances. Within 72 hours of sentencing or release from the custody of the
 9   Bureau of Prisons the Defendant must report in person to the Probation Office in the
10   district to which the Defendant is released. The defendant must comply with the
11   following additional conditions:
12   1.      You must participate as instructed by the probation officer in a program of
13           substance abuse treatment (outpatient and/or inpatient) which may include testing
14           for substance abuse. You must contribute to the cost of treatment in an amount to
15           be determined by the probation officer.
16   2.      You must submit your person, property, house, residence, vehicle, papers, or
17           office to a search conducted by a probation officer. Failure to submit to a search
18           may be grounds for revocation of release. You must warn any other occupants that
19           the premises may be subject to searches pursuant to this condition.
20   3.      You must reside at and participate in a Residential Reentry Center, a residential
21           substance abuse treatment program, a 12-step based halfway house, a sober-living
22           environment, or any combination thereof as approved and directed by the
23           probation officer for up to 180 days, unless discharged earlier by the probation
24           officer. You must follow all rules and regulations. You must contribute to
25           programming costs in an amount determined by the probation officer.
26   4.      You must cooperate in the collection of DNA as directed by the probation officer.
27   …
28   …


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 1          The Court affirms any previous order imposing special assessment, fine or
 2   restitution in this case.
 3          Defendant is advised of his right to appeal within 14 days.
 4          Dated this 2nd day of May, 2022.
 5
 6                                                Honorable Diane J. Humetewa
 7                                                United States District Judge

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